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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 21-cr-407-DLF
                                            :
DARYL JOHNSON,                              :
                                            :
                      Defendant.            :



                GOVERNMENT’S RESPONSE TO PETITION FOR
          INTERNATIONAL TRAVEL AND TO TRANSFER JURISDICTION



       The United States of America does not oppose the Petition to Transfer Jurisdiction

and Allow for International Travel submitted by the District of Columbia Probation Office in

regards to defendant Daryl Johnson. However, the government requests the Court strike the

optional language in the stock Transfer of Jurisdiction Order, which states: “The Court hereby

expressly consents that the period of probation or supervised release may be changed by the

District Court to which this transfer is made without further injury of this Court.*”       The

associated footnote in the Form Order explains that “*This sentence may be deleted in the

discretion of the transferring Court.”    The government requests this Court exercise its

discretion and transfer jurisdiction without allowing the Northern District of Iowa the ability




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to shorten the defendant’s supervised release term, which is a critical component of his sentence

in this case.


                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       UNITED STATES ATTORNEY
                                                       D.C. Bar No. 481052

                                                BY:    /s/ Samuel S. Dalke
                                                       SAMUEL S. DALKE
                                                       PA Bar No. 311803
                                                       Assistant U.S. Attorney, Detailee
                                                       U.S. Attorney’s Office for the District of Columbia
                                                       601 D Street, N.W.
                                                       Washington, D.C. 20530
                                                       717-515-4095
                                                       Samuel.S.Dalke@usdoj.gov




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                                CERTIFICATE OF SERVICE

       On this 23rd day of September 2022, a copy of the foregoing was served on

counsel of record for the defendants via the Court’s Electronic Filing System.


                                               /s/Samuel S. Dalke
                                              Samuel S. Dalke
                                              Assistant United States Attorney




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